                                                                              United States District Court
                                                                                Southern District of Texas
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                                 ENTERED
                            HOUSTON DIVISION                                   September 26, 2024
                                                                                Nathan Ochsner, Clerk

UNITED STATES OF AMERICA                    §
                                            §
versus                                      §        Criminal No. 4:24−cr−00472
                                            §
Jordan Dwaynel Jackson                      §


                          ORDER APPOINTING COUNSEL


      Because the defendant has satisfied this court that he or she is financially eligible
for court-appointed counsel, the court appoints the Federal Public Defender to represent
the defendant.


      Signed at Houston, Texas, on September 26, 2024.
